
962 So.2d 373 (2007)
Roderick D. BROOKS, Appellant,
v.
STATE of Florida, Appellee.
No. 1D07-2091.
District Court of Appeal of Florida, First District.
July 26, 2007.
*374 Roderick D. Brooks, pro se, Appellant.
Bill McCollum, Attorney General, Tallahassee, for Appellee.
PER CURIAM.
Upon consideration of the appellant's response to this Court's order of June 1, 2007, the appeal is hereby dismissed for lack of jurisdiction. See Frazier v. State, 766 So.2d 459 (Fla. 1st DCA 2000).
DISMISSED.
BARFIELD, KAHN, and ROBERTS, JJ. concur.
